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                United States Court of Appeals
                                 For the First Circuit
                                    _____________________

 No. 23-1902
                                  JOHN ANTHONY CASTRO,

                                       Plaintiff, Appellant,

                                                v.

                    DAVID SCANLAN, New Hampshire Secretary of State;
                               DONALD J. TRUMP,

                                     Defendants, Appellees.
                                     __________________

                                          JUDGMENT

                                  Entered: November 21, 2023

        This cause came on to be submitted on the briefs and original record on appeal from the
 United States District Court for the District of New Hampshire.

       Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
 judgment of the District Court is affirmed.


                                                     By the Court:

                                                     Maria R. Hamilton, Clerk


 cc: Hon. Joseph N. Laplante, Daniel Lynch, Clerk, United States District Court for the District
 of New Hampshire, Samuel R. V. Garland, Brendan O'Donnell, Richard J. Lehmann, Ronald D.
 Coleman, Gary Lawkowski, David Warrington, Jonathan Mark Shaw, Mark Meuser, Bryan K.
 Gould, Morgan Tanafon, John Anthony Castro
